                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

DEVIN ZABIHI, by and through his             §
Father and GUARDIAN, DANIEL                  §
ZABIHI                                       §
Plaintiff,                                   §
                                             §
vs.                                          §         CIVIL ACTION NO. 4:19-cv-4054
                                             §
THE POST OAK HOTEL, LANDRY’S,                §         JURY TRIAL DEMANDED
INC., LANDRY’S MANAGEMENT, LP,               §
UPTOWN HOUSTON ASSOCIATION,                  §
TRACI J. DUFF, INDIVIDUALLY, AND             §
TRACI SCOTT, L.L.C., JOSHUA                  §
BARRY, INDIVIDUALLY, AND                     §
MONUMENT PROTECTIVE                          §
SERVICES, LLC                                §
Defendants.                                  §

                          List of Counsel and Parties Represented


Attorney for Plaintiff:

       Cheryl Ellsworth Jahani
       The Law Office of Cheryl Ellsworth Jahani
       8961 Fallsbrook Ct.
       Conroe, Texas 77302
       (970) 596-7459
       christinejahani@gmail.com

Attorneys for Defendant Defendants 1600 West Loop South, LLC, Landry’s, LLC, and
Landry’s Management, L.P.:

       R. Edward Perkins
       Mary London Fuller
       Sheehy, Ware & Pappas
       909 Fannin Street, Suite 2500
       Houston, Texas 77010
       (713) 951-1000
       eperkins@sheehyware.com
       mfuller@sheehyware.com




                                                                      Exhibit 6
